       Case 1:20-cv-06527-PGG-SDA Document 9 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Jenisa Angeles, on behalf of herself and all                            10/16/2020
 others similarly situated,
                                                           1:20-cv-06527 (PGG) (SDA)
                                  Plaintiff,
                                                           ORDER
                      -against-

 Sylvane, Inc.,

                                  Defendant.


STEWART D. AARON, United States Magistrate Judge:

       This case has been assigned to me for general pretrial management. (ECF No. 5.) The

parties (or, if no defendant has appeared in the case, only the plaintiff) shall appear for a

Telephone Conference on Thursday, October 22, 2020 at 10:30 a.m. to discuss the status of this

case. At the scheduled time, the parties shall each separately call (888) 278-0296 (or (214) 765-

0479) and enter access code 6489745.

SO ORDERED.

DATED:            New York, New York
                  October 16, 2020

                                                ______________________________
                                                STEWART D. AARON
                                                United States Magistrate Judge
